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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                           Crim. No. 19-CR-00018 (ABJ)
 ROGER J. STONE, JR.,

                 Defendant.


     GOVERNMENT’S MOTION FOR LEAVE TO FILE AMENDED OPPOSITION

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, respectfully requests leave to file an amended version of its opposition to the

defendant’s motion to dismiss, Doc. 97. The amended opposition corrects some typographical

errors but contains no substantive changes. Pursuant to Local Criminal Rule 47(g), the proposed

amended filing is attached as an exhibit to this motion.




                                                      Respectfully submitted,

                                                      JESSIE K. LIU
                                                      U.S. Attorney for the District of Columbia

                                                      By:    /s/
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